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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.

ETHAN NORDEAN,
also known as “Rufio Panman,”

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-195

VIOLATIONS:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. §§ 1361, 2

(Destruction of Government Property)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On January 6, 2021, within the District of Columbia and elsewhere, ETHAN NORDEAN,

also known as “Rufio Panman,” attempted to, and did, corruptly obstruct, influence, and impede

an official proceeding, and did aid and abet others known and unknown to do the same; that is,

ETHAN NORDEAN, with others known and unknown, forcibly entered the United States Capitol

to, and did, stop, delay, and hinder Congress’s certification of the Electoral College vote.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2), and 2)
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COUNT TWO
On January 6, 2021, within the District of Columbia and elsewhere, ETHAN NORDEAN,
also known as “Rufio Panman,” attempted to, and did, willfully injure and commit depredation
against property of the United States, and did aid and abet others known and unknown to do so;
that is, ETHAN NORDEAN, with others known and unknown, forcibly entered the U.S. Capitol
and thereby caused damage to the building in an amount more than $1,000.

(Destruction of Government Property and Aiding and Abetting in violation of Title
18, United States Code, Sections 1361 and 2)

COUNT THREE
On January 6, 2021, within the District of Columbia and elsewhere, ETHAN NORDEAN, also
known as “Rufio Panman,” did unlawfully and knowingly enter and remain in a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President and Vice President-Elect were temporarily
visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On January 6, 2021, within the District of Columbia and elsewhere, ETHAN NORDEAN,
also known as “Rufio Panman,” did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-Elect were temporarily visiting, when and so that such
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conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

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Acting Attorney of the United States in
and for the District of Columbia.
